 

Case 2:10-cv-O4218-GRB Document 36 Filed 06/26/12

 

STEVEN BELLONE
SUFFOLK COUNTY EXECUT|VE

DENle M. CoHEN
couN'rv AT'roRNE¥

June 26, 2012

Magistrate Judge Gary R. Brown
United States District Court

100 Federal Plaza, P.O. Box 9014

1 Centr_al Islip, New York 11722-9014

Re: Ferrari v. Counly of Sujjfolk y
lO-CV-4218 (JS)(GRB)

Hon. Judge Brown:

Page 1 of 1 Page|D #: 490

DEPARTMENT OF LAW

This office represents the County of Suffolk in this action brought pursuant to 42 U.S.C.
§ 1983. I received a copy of the plaintiff’s expert report today, which is annexed hereto
as Exhibit “A.” Upon review of the report, I advised the plaintiff that it fails to comply

with the requirements of Federal Rule of Civil Procedure 26.

Attached please find a revised Pre-Trial Order, which was agreed upon by both sides, in
accordance with the Court’s directive at the Pre-Trial Conference held on June l4, 2012.

Thank you for your consideration
Very truly yours,

DENle M. CoHEN
Suffolk County Attorney

Christopher M. Gatto
Assistant County Attomey

LOCATION
H. LEE DENN|SON BLDG.

MA|L|NG ADDRESS
P.C. BOX 6100

100 VETERANS MEMORIAL HIGHWAY . HAUPPAUGE, NY 1 1788-0099

(631) 853- 4049
TELECOP|ER (631) 853 - 5169

